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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    OXFORD DIVISION

  OXFORD UNIVERSITY BANK;
  CITIZENS BANK & TRUST COMPANY
  OF MARKS;
  COASTAL COMMERCE BANK;
  FIRST COMMERCIAL BANK as
  Successor-In-Interest to DESOTO COUNTY                             CIVIL ACTION NO.
  BANK;                                                           3:15CV00145 DMB-SAA
  FIRST STATE BANK;
  GUARANTY BANK AND TRUST
  COMPANY;
  NEWTON COUNTY BANK;
  THE FIRST, A NATIONAL BANKING
  ASSOCIATION;
  COPIAH BANK, N.A.;
  HOLMES COUNTY BANK AND TRUST
  COMPANY; and
  PRIORITYONE BANK

           Plaintiffs

  VERSUS

  WELLS FARGO BANK, NATIONAL
  ASSOCIATION, as Trustee for Soloso CDO
  2005-1 LTD.

           Defendant

 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL
                      PROCEDURE 41(a)(1)(A)(i)

         Notice is hereby given that Oxford University Bank; Citizens Bank & Trust Company of

Marks; Coastal Commerce Bank; First Commercial Bank as Successor-in-Interest to Desoto

County Bank; First State Bank; Guaranty Bank and Trust Company; Newton County Bank; The

First, a National Banking Association; Copiah Bank, N.A.; Holmes County Bank and Trust

Company, and PriorityOne Bank, by and through counsel, pursuant to Federal Rule of Civil




{N3133036.1}
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Procedure 41(a)(1)(A)(i), hereby dismiss the above-styled and numbered action without

prejudice.

         This 25th day of November 2015.

                                             Respectfully Submitted,

                                             OXFORD UNIVERSITY BANK; CITIZENS
                                             BANK & TRUST COMPANY OF MARKS;
                                             COASTAL COMMERCE BANK; FIRST
                                             COMMERCIAL BANK AS SUCCESSOR-IN-
                                             INTEREST TO DESOTO COUNTY BANK;
                                             FIRST STATE BANK; GUARANTY BANK AND
                                             TRUST COMPANY; NEWTON COUNTY
                                             BANK; THE FIRST, A NATIONAL BANKING
                                             ASSOCIATION; COPIAH BANK, N.A.;
                                             HOLMES COUNTY BANK AND TRUST
                                             COMPANY, AND PRIORITYONE BANK

                                             By Their Attorneys,
                                             JONES WALKER LLP

                                             By: /s/ Kaytie M. Pickett
                                                    Kaytie M. Pickett


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